Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 1 of 7




        EXHIBIT
          A
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 2 of 7



THIS IS A LEGAL AGREEMENT BETWEEN YOU AND APPLE INC. ("APPLE") STATING THE
TERMS THAT GOVERN YOUR PARTICIPATION AS AN APPLE DEVELOPER. PLEASE READ
THIS APPLE DEVELOPER AGREEMENT (“AGREEMENT”) BEFORE PRESSING THE
"AGREE" BUTTON AND CHECKING THE BOX AT THE BOTTOM OF THIS PAGE. BY
PRESSING "AGREE," YOU ARE AGREEING TO BE BOUND BY THE TERMS OF THIS
AGREEMENT. IF YOU DO NOT AGREE TO THE TERMS OF THIS AGREEMENT, PRESS
"CANCEL".


Apple Developer Agreement
1.       Relationship With Apple; Apple ID and Password. You understand and agree that by
registering with Apple to become an Apple Developer (“Apple Developer”), no legal partnership or
agency relationship is created between you and Apple. You agree not to represent otherwise. You
also certify that you are at least thirteen years of age and you represent that you are legally
permitted to register as an Apple Developer. This Agreement is void where prohibited by law and
the right to register as an Apple Developer is not granted in such jurisdictions. Unless otherwise
agreed or permitted by Apple in writing, you cannot share or transfer any benefits you receive from
Apple in connection with being an Apple Developer. The Apple ID and password you use to log
into your Apple Developer account cannot be shared in any way or with anyone. You are
responsible for maintaining the confidentiality of your Apple ID and password and for any activity in
connection with your account.

2.       Developer Benefits. As an Apple Developer, you may have the opportunity to attend
certain Apple developer conferences, technical talks, and other events (including online or
electronic broadcasts of such events) (“Apple Events”). In addition, Apple may offer to provide
you with certain services (“Services”), as described more fully herein and on the Apple Developer
web pages (“Site”), solely for your own use in connection with your participation as an Apple
Developer. Services may include, but not be limited to, any services Apple offers at Apple Events
or on the Site as well as the offering of any content or materials displayed on the Site (“Content”).
Apple may change, suspend or discontinue providing the Services, Site and Content to you at any
time, and may impose limits on certain features and materials offered or restrict your access to
parts or all of such materials without notice or liability.

3.        Restrictions. You agree not to exploit the Site, or any Services, Apple Events or Content
provided to you by Apple as an Apple Developer, in any unauthorized way, including but not limited
to, by trespass, burdening network capacity or using the Services, Site or Content other than for
authorized purposes. Copyright and other intellectual property laws protect the Site and Content
provided to you, and you agree to abide by and maintain all notices, license information, and
restrictions contained therein. Unless expressly permitted herein or otherwise permitted in a
separate agreement with Apple, you may not modify, publish, network, rent, lease, loan, transmit,
sell, participate in the transfer or sale of, reproduce, create derivative works based on, redistribute,
perform, display, or in any way exploit any of the Site, Content or Services. You may not
decompile, reverse engineer, disassemble, or attempt to derive the source code of any software or
security components of the Services, Site, or Content (except as and only to the extent any
foregoing restriction is prohibited by applicable law or to the extent as may be permitted by any
licensing terms accompanying the foregoing). Use of the Site, Content or Services to violate,
tamper with, or circumvent the security of any computer network, software, passwords, encryption
codes, technological protection measures, or to otherwise engage in any kind of illegal activity, or
to enable others to do so, is expressly prohibited. Apple retains ownership of all its rights in the
Site, Content, Apple Events and Services, and except as expressly set forth herein, no other rights
or licenses are granted or to be implied under any Apple intellectual property.

4.      Confidentiality. Except as otherwise set forth herein, you agree that any Apple pre-
release software, services, and/or hardware (including related documentation and materials)
provided to you as an Apple Developer (“Pre-Release Materials”) and any information disclosed
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 3 of 7



by Apple to you in connection with Apple Events will be considered and referred to as “Apple
Confidential Information”.

Notwithstanding the foregoing, Apple Confidential Information will not include: (a) information that is
generally and legitimately available to the public through no fault or breach of yours; (b) information
that is generally made available to the public by Apple; (c) information that is independently
developed by you without the use of any Apple Confidential Information; (d) information that was
rightfully obtained from a third party who had the right to transfer or disclose it to you without
limitation; or (e) any third party software and/or documentation provided to you by Apple and
accompanied by licensing terms that do not impose confidentiality obligations on the use or
disclosure of such software and/or documentation. Further, Apple agrees that you will not be
bound by the foregoing confidentiality terms with regard to technical information about Apple pre-
release software, services and/or hardware disclosed by Apple at WWDC (Apple’s Worldwide
Developers Conference), except that you may not post screen shots of, write public reviews of, or
redistribute any such materials.

5.       Nondisclosure and Nonuse of Apple Confidential Information. Unless otherwise
expressly agreed or permitted in writing by Apple, you agree not to disclose, publish, or
disseminate any Apple Confidential Information to anyone other than to other Apple Developers
who are employees and contractors working for the same entity as you and then only to the extent
that Apple does not otherwise prohibit such disclosure. Except for your authorized purposes as an
Apple Developer or as otherwise expressly agreed or permitted by Apple in writing, you agree not
to use Apple Confidential Information in any way, including, without limitation, for your own or any
third party’s benefit without the prior written approval of an authorized representative of Apple in
each instance. You further agree to take reasonable precautions to prevent any unauthorized use,
disclosure, publication, or dissemination of Apple Confidential Information. You acknowledge that
unauthorized disclosure or use of Apple Confidential Information could cause irreparable harm and
significant injury to Apple that may be difficult to ascertain. Accordingly, you agree that Apple will
have the right to seek immediate injunctive relief to enforce your obligations under this Agreement
in addition to any other rights and remedies it may have. If you are required by law, regulation or
pursuant to the valid binding order of a court of competent jurisdiction to disclose Apple
Confidential Information, you may make such disclosure, but only if you have notified Apple before
making such disclosure and have used commercially reasonable efforts to limit the disclosure and
to seek confidential, protective treatment of such information. A disclosure pursuant to the
previous sentence will not relieve you of your obligations to hold such information as Apple
Confidential Information.

6.        Confidential Pre-Release Materials License and Restrictions. If Apple provides you
with Pre-Release Materials, then subject to your compliance with the terms and conditions of this
Agreement, Apple hereby grants you a nonexclusive, nontransferable, right and license to use the
Pre-Release Materials only for the limited purposes set forth in this Section 6; provided however
that if such Pre-Release Materials are subject to a separate license agreement, you agree that the
license agreement accompanying such materials in addition to Sections 4 and 5 of this Agreement
shall also govern your use of the Pre-Release Materials. You further agree that in the event of any
inconsistency between Section 4 and 5 of this Agreement and the confidentiality restrictions in the
license agreement, the license agreement shall govern. You agree not to use the Pre-Release
Materials for any purpose other than testing and/or development by you of a product designed to
operate in combination with the same operating system for which the Pre-Release Materials are
designed. This Agreement does not grant you any right or license to incorporate or make use of
any Apple intellectual property (including for example and without limitation, trade secrets, patents,
copyrights, trademarks and industrial designs) in any product. Except as expressly set forth herein,
no other rights or licenses are granted or to be implied under any Apple intellectual property. You
agree not to decompile, reverse engineer, disassemble, or otherwise reduce the Pre-Release
Materials to a human-perceivable form, and you will not modify, network, rent, lease, transmit, sell,
or loan the Pre-Release Materials in whole or in part.
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 4 of 7



7.       Developer Content License and Restrictions. As an Apple Developer, you may have
access to certain proprietary content (including, without limitation, video presentations and audio
recordings) that Apple may make available to you from time to time (“Content”). Content shall be
considered Apple Confidential Information, unless otherwise agreed or permitted in writing by
Apple. You may not share the Content with anyone, including, without limitation, employees and
contractors working for the same entity as you, regardless of whether they are Apple Developers,
unless otherwise expressly permitted by Apple. Subject to these terms and conditions, Apple
grants you a personal and nontransferable license to access and use the Content for authorized
purposes as an Apple Developer; provided that you may only download one (1) copy of the
Content and such download must be completed within the time period specified by Apple for such
download. Except as expressly permitted by Apple, you shall not modify, translate, reproduce,
distribute, or create derivative works of the Content or any part thereof. You shall not rent, lease,
loan, sell, sublicense, assign or otherwise transfer any rights in the Content. Apple and/or Apple’s
licensor(s) retain ownership of the Content itself and any copies or portions thereof. The Content is
licensed, not sold, to you by Apple for use only under this Agreement, and Apple reserves all rights
not expressly granted to you. Your rights under this license to use and access the Content will
terminate automatically without notice from Apple if you fail to comply with any of these provisions.

8.        Compatibility Labs; Developer Technical Support (DTS). As an Apple Developer, you
may have access to Apple’s software and/or hardware compatibility testing and development labs
(“Labs”) and/or developer technical support incidents (“DTS Services”) that Apple may make
available to you from time to time as an Apple developer benefit or for a separate fee. You agree
that all use of such Labs and DTS Services will be in accordance with Apple’s usage policies for
such services, which are subject to change from time to time, with or without prior notice to you.
Without limiting the foregoing, Apple may post on the Site and/or send an email to you with notices
of such changes. It is your responsibility to review the Site and/or check your email address
registered with Apple for any such notices. You agree that Apple shall not be liable to you or any
third party for any modification or cessation of such services. As part of the DTS Services, Apple
may supply you with certain code snippets, sample code, software, and other materials
(“Materials”). You agree that any Materials that Apple provides as part of the DTS Services are
licensed to you and shall be used by you only in accordance with the terms and conditions
accompanying the Materials. Apple retains ownership of all of its right, title and interest in such
Materials and no other rights or licenses are granted or to be implied under any Apple intellectual
property. You have no right to copy, decompile, reverse engineer, sublicense or otherwise
distribute such Materials, except as may be expressly provided in the terms and conditions
accompanying the Materials. YOU AGREE THAT WHEN REQUESTING AND RECEIVING
TECHNICAL SUPPORT FROM DTS SERVICES, YOU WILL NOT PROVIDE APPLE WITH ANY
INFORMATION, INCLUDING THAT INCORPORATED IN YOUR SOFTWARE, THAT IS
CONFIDENTIAL TO YOU OR ANY THIRD PARTY. YOU AGREE THAT ANY NOTICE,
LEGEND, OR LABEL TO THE CONTRARY CONTAINED IN ANY SUCH MATERIALS
PROVIDED BY YOU TO APPLE SHALL BE WITHOUT EFFECT. APPLE SHALL BE FREE TO
USE ALL SUCH INFORMATION IT RECEIVES FROM YOU IN ANY MANNER IT DEEMS
APPROPRIATE, SUBJECT TO ANY APPLICABLE PATENTS OR COPYRIGHTS. Apple
reserves the right to reject a request for access to Labs or for DTS Services at any time and for any
reason, in which event Apple may credit you for the rejected lab or support request. You shall be
solely responsible for any restoration of lost or altered files, data, programs or other materials
provided.

9.     Amendment; Communication. Apple reserves the right, at its discretion, to modify this
Agreement, including any rules and policies at any time. You will be responsible for reviewing and
becoming familiar with any such modifications (including new terms, updates, revisions,
supplements, modifications, and additional rules, policies, terms and conditions)(“Additional
Terms”) communicated to you by Apple. All Additional Terms are hereby incorporated into this
Agreement by this reference and your continued use of the Site will indicate your acceptance of
any Additional Terms. In addition, Apple may be sending communications to you from time to time.
Such communications may be in the form of phone calls and/or emails and may include, but not be
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 5 of 7



limited to, membership information, marketing materials, technical information, and updates and/or
changes regarding your participation as an Apple Developer. By agreeing to this Agreement, you
consent that Apple may provide you with such communications.

10.       Term and Termination. Apple may terminate or suspend you as a registered Apple
Developer at any time in Apple’s sole discretion. If Apple terminates you as a registered Apple
Developer, Apple reserves the right to deny your reapplication at any time in Apple’s sole
discretion. You may terminate your participation as a registered Apple Developer at any time, for
any reason, by notifying Apple in writing of your intent to do so. Upon any termination or, at
Apple’s discretion, suspension, all rights and licenses granted to you by Apple will cease, including
your right to access the Site, and you agree to destroy any and all Apple Confidential Information
that is in your possession or control. At Apple’s request, you agree to provide certification of such
destruction to Apple. No refund or partial refund of any fees paid hereunder or any other fees will
be made for any reason. Following termination of this Agreement, Sections 1, 3-5, 7 (but only for
so long as the duration specified by Apple for such usage), 10-19 shall continue to bind the parties.

11.      Apple Independent Development. Nothing in this Agreement will impair Apple’s right to
develop, acquire, license, market, promote or distribute products, software or technologies that
perform the same or similar functions as, or otherwise compete with, any other products, software
or technologies that you may develop, produce, market, or distribute. In the absence of a separate
written agreement to the contrary, Apple will be free to use any information, suggestions or
recommendations you provide to Apple pursuant to this Agreement for any purpose, subject to any
applicable patents or copyrights.

12.      Use Of Apple Trademarks, Logos, etc. You agree to follow Apple’s trademark and
copyright guidelines as published at: www.apple.com/legal/guidelinesfor3rdparties.html
(“Guidelines”) and as may be modified from time to time. You agree not to use the marks “Apple,”
the Apple Logo, “Mac”, “iPhone,” “iPod touch” or any other marks belonging or licensed to Apple in
any way except as expressly authorized in writing by Apple in each instance or as permitted in
Apple’s Guidelines. You agree that all goodwill arising out of your authorized use of Apple’s marks
shall inure to the benefit of and belong to Apple.

13.    No Warranty. APPLE AND ITS AFFILIATES, SUBSIDIARIES, OFFICERS, DIRECTORS,
EMPLOYEES, AGENTS, PARTNERS, AND LICENSORS (COLLECTIVELY, “APPLE” FOR
PURPOSES OF THIS SECTION 13 AND 14) DO NOT PROMISE THAT THE SITE, CONTENT,
SERVICES (INCLUDING, FUNCTIONALITY OR FEATURES OF THE FOREGOING), LABS, DTS
SERVICES, OR ANY OTHER INFORMATION OR MATERIALS THAT YOU RECEIVE
HEREUNDER AS AN APPLE DEVELOPER (COLLECTIVELY, THE “SERVICE” FOR PURPOSES
OF THIS SECTION 13 AND 14) WILL BE ACCURATE, RELIABLE, TIMELY, SECURE, ERROR-
FREE OR UNINTERRUPTED, OR THAT ANY DEFECTS WILL BE CORRECTED. THE SERVICE
IS PROVIDED ON AN “AS-IS” AND “AS-AVAILABLE” BASIS AND THE SERVICE IS SUBJECT
TO CHANGE WITHOUT NOTICE. APPLE CANNOT ENSURE THAT ANY CONTENT
(INCLUDING FILES, INFORMATION OR OTHER DATA) YOU ACCESS OR DOWNLOAD FROM
THE SERVICE WILL BE FREE OF VIRUSES, CONTAMINATION OR DESTRUCTIVE
FEATURES. FURTHER, APPLE DOES NOT GUARANTEE ANY RESULTS OR
IDENTIFICATION OR CORRECTION OF PROBLEMS AS PART OF THE SERVICE AND APPLE
DISCLAIMS ANY LIABILITY RELATED THERETO. APPLE DISCLAIMS ALL WARRANTIES,
EXPRESS OR IMPLIED, INCLUDING ANY WARRANTIES OF ACCURACY, NON-
INFRINGEMENT, MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE. APPLE
DISCLAIMS ANY AND ALL LIABILITY FOR THE ACTS, OMISSIONS AND CONDUCT OF ANY
THIRD PARTIES IN CONNECTION WITH OR RELATED TO YOUR USE OF THE SERVICE.
YOU ASSUME TOTAL RESPONSIBILITY AND ALL RISKS FOR YOUR USE OF THE SERVICE,
INCLUDING, BUT NOT LIMITED TO, ANY INFORMATION OBTAINED THEREON. YOUR SOLE
REMEDY AGAINST APPLE FOR DISSATISFACTION WITH THE SERVICE IS TO STOP USING
THE SERVICE. THIS LIMITATION OF RELIEF IS A PART OF THE BARGAIN BETWEEN THE
PARTIES. TO THE EXTENT THAT APPLE MAKES ANY PRE-RELEASE SOFTWARE,
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 6 of 7



HARDWARE OR OTHER PRODUCTS, SERVICES OR INFORMATION RELATED THERETO
AVAILABLE TO YOU AS AN APPLE DEVELOPER, YOU UNDERSTAND THAT APPLE IS
UNDER NO OBLIGATION TO PROVIDE UPDATES, ENHANCEMENTS, OR CORRECTIONS, OR
TO NOTIFY YOU OF ANY PRODUCT OR SERVICES CHANGES THAT APPLE MAY MAKE, OR
TO PUBLICLY ANNOUNCE OR INTRODUCE THE PRODUCT(S) OR SERVICE AT ANY TIME IN
THE FUTURE.

14.   Disclaimer of Liability. TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW, IN
NO EVENT WILL APPLE BE LIABLE FOR PERSONAL INJURY, OR ANY INCIDENTAL,
SPECIAL, INDIRECT, CONSEQUENTIAL OR PUNITIVE DAMAGES WHATSOEVER,
INCLUDING, WITHOUT LIMITATION, DAMAGES RESULTING FROM DELAY OF DELIVERY,
FOR LOSS OF PROFITS, DATA, BUSINESS OR GOODWILL, FOR BUSINESS INTERRUPTION
OR ANY OTHER COMMERCIAL DAMAGES OR LOSSES, ARISING OUT OF OR RELATED TO
THIS AGREEMENT OR YOUR USE OR INABILITY TO USE THE SERVICE, HOWEVER
CAUSED, WHETHER UNDER A THEORY OF CONTRACT, WARRANTY, TORT (INCLUDING
NEGLIGENCE), PRODUCTS LIABILITY, OR OTHERWISE, EVEN IF APPLE HAS BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES, AND NOTWITHSTANDING THE
FAILURE OF ESSENTIAL PURPOSE OF ANY REMEDY. IN NO EVENT SHALL APPLE’S
TOTAL LIABILITY TO YOU UNDER THIS AGREEMENT FOR ALL DAMAGES (OTHER THAN AS
MAY BE REQUIRED BY APPLICABLE LAW IN CASES INVOLVING PERSONAL INJURY)
EXCEED THE AMOUNT OF FIFTY DOLLARS ($50.00).

15.       Third-Party Notices and Products. Third-party software provided by Apple to you as an
Apple Developer may be accompanied by its own licensing terms, in which case such licensing
terms will govern your use of that particular third-party software. Mention of third-parties and third-
party products in any materials, documentation, advertising, or promotions provided to you as an
Apple Developer is for informational purposes only and constitutes neither an endorsement nor a
recommendation. All third-party product specifications and descriptions are supplied by the
respective vendor or supplier, and Apple shall have no responsibility with regard to the selection,
performance, or use of these vendors or products. All understandings, agreements, or warranties,
if any, take place directly between the vendors and the prospective users.

16.       Export Control. You may not use or otherwise export or re-export any Apple Confidential
Information received from Apple except as authorized by United States law and the laws of the
jurisdiction in which the Apple Confidential Information was obtained. In particular, but without
limitation, the Apple Confidential Information may not be exported or re-exported (a) into any U.S.
embargoed countries or (b) to anyone on the U.S. Treasury Department's list of Specially
Designated Nationals or the U.S. Department of Commerce Denied Person's List or Entity List or
any other restricted party lists. By becoming an Apple Developer or using any Apple Confidential
Information, you represent and warrant that you are not located in any such country or on any such
list. You also agree that you will not use any Apple Confidential Information for any purposes
prohibited by United States law, including, without limitation, the development, design, manufacture
or production of nuclear, chemical or biological weapons.

17.     Governing Law. This Agreement will be governed by and construed in accordance with
the laws of the State of California, excluding its conflict of law provisions. The parties further submit
to and waive any objections to personal jurisdiction of and venue in any of the following forums:
U.S. District Court for the Northern District of California, California Superior Court for Santa Clara
County, Santa Clara County Municipal Court, or any other forum in Santa Clara County, for any
disputes arising out of this Agreement.

18.     Government End Users. Certain Apple Confidential Information may be considered
“Commercial Items”, as that term is defined at 48 C.F.R. §2.101, consisting of “Commercial
Computer Software” and “Commercial Computer Software Documentation”, as such terms are
used in 48 C.F.R. §12.212 or 48 C.F.R. §227.7202, as applicable. Consistent with 48 C.F.R.
§12.212 or 48 C.F.R. §227.7202-1 through 227.7202-4, as applicable, the Commercial Computer
      Case 4:20-cv-05640-YGR Document 37-1 Filed 08/21/20 Page 7 of 7



Software and Commercial Computer Software Documentation are being licensed to U.S.
Government end users (a) only as Commercial Items and (b) with only those rights as are granted
to all other end users pursuant to the terms and conditions herein. Unpublished-rights reserved
under the copyright laws of the United States.

19.      Miscellaneous. No delay or failure to take action under this Agreement will constitute a
waiver unless expressly waived in writing, signed by a duly authorized representative of Apple, and
no single waiver will constitute a continuing or subsequent waiver. This Agreement will bind your
successors but may not be assigned, in whole or part, by you without the written approval of an
authorized representative of Apple. Any non-conforming assignment shall be null and void. If any
provision is found to be unenforceable or invalid, that provision shall be limited or eliminated to the
minimum extent necessary so that this Agreement shall otherwise remain in full force and effect
and enforceable. This Agreement constitutes the entire agreement between the parties with
respect to its subject matter and supersedes all prior or contemporaneous understandings
regarding such subject matter. No addition to or removal or modification of any of the provisions of
this Agreement will be binding upon Apple unless made in writing and signed by an authorized
representative of Apple. The parties hereto confirm that they have requested that this Agreement
and all attachments and related documents be drafted in English. Les parties ont exigé que le
présent contrat et tous les documents connexes soient rédigés en anglais.

EA1283
6/8/15
